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Facsimile'. (424) 228-5351

OfCoa.msel to

Lemberg & Associates LLC
A C01mecticutLaw }Firrn
1100 Summer Street
Stamford, CT 06905
Telephone: (203) 65 3-2250
Pacsimile: (203) 653~3424

Attomeys for Plaintiff,
L<)uis Maldonado

UNITED STA.TES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Plajmiff, COMPLAINT FOR DAMAGES

1. VLOLATION OF FALR DEBT -
vs. COLLEC'HON PRACTICES ACT,
15 U.S.C. § 1692 ET. SEQ;

 

 

Louis Maldonado, l ' C;S@ Nc v 1 0 6 2 6 2 `“m/q’ (\

 

Medicredit; and DOES 1-10, mciusive, 2. VIOLATION OF FAIR DEBT
COLLECTION PRATECES ACT,
Defendants. . CAL.CIV.CODE § 1788 ET. SEQ.
JURY TR£AL DEMANDED
COMPLA]NI` FOR. DAM.AGES

 

 

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For this Cornplaint, the Plaintiff, Louis Maldonado, by undersigned counsel,
states as follows:

JURISDICTION

1. v This action arises out of Defendants’ repeated violations of the Fair Debt
Coffection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of
Plaintiff’s personal privacy by the Defendants and its agents in their illegal efforts to
coilect a consumer debt.

2. Suppiemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
Defendants transact business here and a substantial portion of the acts giving rise to

this action occurred here.

PARTIES
4. The Plaintiff, Louis Maldonado (hereatter “Plaintiff”), is an adult

individual residing in Whittier, California, and is a “consurner” as the term is defined
by 15 U.S.C. § 1692a(3).

5. Defendant, Medicredit (“Midicredit”), is a California business entity with
an address of 5150 East Pacit`lc Coast Highway, Long Beach, California 90804-3312,
operating as a collection agency, and is a “debt coilector” as the term is defined by

15 U.S.C. § l692a(6).

 

2 COMPLAINT FOR DAMAGES

 

Case 2:10-cv-06262-|\/|AN Document 1 Filed 08/23/10 Page 3 of 13 Page |D #:7

 

 

1 6. Does 1-10 (the “Collectors”) are individual collectors employed by
2
3 Medicredit and Whose identities are currently unknown to the Plaintiff. One or more
4 of the Collectors may be joined as parties once their identities are disclosed through
5 discovery.
6 l n
7 7. Medicredit at all times acted by and through one or more of the
3 Collectors.
9
10 _A__LLEGATIONS APPLICABLE TO ALI#H(”;OUNTS
11 A. The Debt
12
n 8. A financial obligation in the approximate amount of $100.00 (the
14 “Debt”) to a creditor (tiie “Creditor”) for hospital bills.
15 9. The Debt arose from services provided by the Creditor which were
16
17 primarily for family, personal or household purposes and Which meets the definition
18 ofa “debt” under 15 U.S.C. § 1692a(5).
19
10. The Debt vvas purchased, assigned or transferred to Medicredit for
20
21 collection, or Medicredit Was employed by the Creditor to collect the Debt.
22 11. The Defendants attempted to collect the Debt and, as such, engaged in
23
“cornmunications” as defined in 15 U.S.C. § 1692a(2).
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28
3 COMPLAINT FOR DAMAGES

 

 

 

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B. Medicredit Engages in Harassment and Abusive Tactics

12. The Debt belonged to the Plaintiff’s father, Who has been deceased for
five (5) years.

13. The Plaintiff called Medicredit, and told them that the Debt Was not his.
Even though Medicredit told the Plaintiff that he did not need to pay the Debt, they

also told him that they had to keep the Debt on his credit report unless the Creditor

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said they could remove it as they Were not authorized to remove the account.

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14. When the Plaintiff called the Creditor, the Creditor said "We know it’s

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not your bill, but if vve Wait long enough you'li pay it".

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15. As a result of Medicredit’s false reporting, the Plaintiff Was unable to

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obtain a car loan and mortgage for a condo.

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16. Medicredit faiied to notify the Plaintiff of` his rights under state and

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federal law by Written correspondence Within five (5) days after initial contact,

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including the right to dispute the Debt.

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C. Plaintiff Suffered Actual Damag§_§

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17. The Plaintif`f has suffered and continues to suffer actual damages as a

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result of the Def`endants’ unlawful conduct

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4 COMPLAINT FOR DAMAGES

 

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Case 2:10-cv-06262-|\/|AN Document 1 Filed 08/23/10 Page 5 of 13 Page |D #:9

18. As a direct consequence of the Defendants’ acts, practices and conduct,
the Plaintiff suffered and continues to suffer from humiliation, anger, anxiety,
emotional distress, fear, frustration and embarrassmentl

19. The Defendants’ conduct was so outrageous in character, and so extreme
in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious, and utterly intolerable in a civilized community.

C‘OUNT 1
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES AC'I`
15 U.S.C. 8 1692. et seq.

20. The Plaintiff incorporates by reference ail of the above paragraphs of this
Complaint as though fully stated herein.

21 . The Defendants misrepresented the character, amount and legal status of
the debt, in violation of 15 U.S.C. § 1692e(2).

22. The Defendants communicated false credit information, in violation of
15 U.S.C. § 1692e(8).

23. The Defendants failed to report that the debt was disputed to the credit
bureaus, in violation of 15 U.S.C. § 1692e(8)r

24. The Defendants employed false and deceptive means to collect a debt, in
violation of 15 U.S.C. § 1692e(10).

25. The Defendants attempted to collect an amount not authorized by the

agreement creating the debt, in violation of 15 U.S.C. § 1692f(1).

 

5 COMPLAINT FOR DAMAGES

 

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26. The Defendants caused charges to be made to the Plaintiff, in violation of
15 U.S.C. § 1692f(5).

27. The Defendants failed to send the Plaintiff a validation notice stating the
amount of the debt, in violation of 15 U.S.C. § 1692g(a)(1).

28. The Defendants failed to send the Plaintiff a validation notice stating the
name of the original creditor to Whom the debt Was owed, in violation of 15 U.S.C. §
1692g(a)(2).

29. The Defendants failed to send the Plaintiff a validation notice stating the
Plaintiff’s right to dispute the debt within thirty days, in violation of 15 U.S.C. §
1692g(a)(3).

30. The Defendants failed to send the Plaintiff a validation notice informing
the Plaintiff of a right to have verification and judgment mailed to the Plaintiff, in
violation of 15 U.S.C. § l692g(a)(4).

31. The Defendants failed to send the Plaintiff a validation notice containing
the name and address of the original creditor, in violation of 15 U.S.C. § l692g(a)(5).

32. 'fhe Defendants continued collection efforts even though the debt had not
been Validated, in violation of 15 U.S.C. § 1692g(b).

33. The foregoing acts and omissions of the Defendants constitute numerous
and multiple violations of the FDCPA, including every one of the above-cited

provisions

 

6 COMPLAINT FOR DAMAGES

 

 

 

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34. The Plaintiff is entitled to damages as a result of the Defendants’

violationsl

COUNT II
VIOLA'I`ION OF THE ROSENTHAL FAIR DEBT C()LLECTION
PRACTICES ACT. Cal. Civ. Code § 1788 et seq.

35. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

36. The Rosenthal Fair Debt Collection Practices Act, California Civil Code
section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
practices in the collection of consumer debts.

37. Medicredit, in the regular course of business, engages in debt collection
and is a “debt collector” as defined by Cal. Civ. Code § 1788.2(0).

38. The Defendants failed to comply with the provisions of 15 U.S.C. §
1692, et seq., in violation of Cal. Civ. Code § l788.13(e).

39. The Defendants falsely represented that information about the Plaintiff’s
alleged failure to pay the debt would be referred to a credit reporting agency, in
violation of Cal. Civ. Code § 1788.13(1`).

40. The Defendants did not comply with the provisions of Title 15, Section
1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.

41. The Plaintiff is entitled to damages as a result of the Defendants’

violations

 

7 COMPLAINT FOR DAMAGES

 

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3 PRAYER FOR RELIEF
4 WHEREFORE, the Plaintiff prays that judgment be entered against the
5
Defendants:
6
7 A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the
8
9 Defendants;
10 B. Statutory damages of 81,000.00 pursuant to 15 U.S.C. §l692k(a)(2)(A)
l 1 against the Defendants;
12
13 C. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.
14 § 1692k(a)(3) against the Defendants;
15 D. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
16
17 E. Statutory damages of $1,000.00 per violation for knowingly and
18 willfully committing violations pursuant to Cal. Civ. Code
19
§ 1788.30(b);
20
21 F. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);
22 G. Actual damages from the Defendants for the all damages including
23
emotional distress suffered as a result of the intentionai, reckless, and/or
24
25 negligent FDCPA violations and intentional, reckless, and/or negligent
26 invasions of privacy in an amount to be determined at trial for the
27 . .
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8 COMPLAlNT FOR DAMAGES

 

 

 

Case 2:10-cv-06262-|\/|AN Document 1 Filed 08/23/10 Page 9 of 13 Page |D #:13

H. Punitive damages; and

1. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

DATED: August 21, 2010 LARA SHAPIRO

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By: /s/ Lara R. Shapiro
Lara R. Shapiro

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Attorney for Plaintiff
Louis Maldonado

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9 COMPLAINT FOR DAMAGES

 

 

 

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NOTICE 'I`O COUNSEL ~ -
(MAGISTRA'IE J`UDGE CIVIL CONSENT PILOT PROJ'ECT)

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H. ' Continuing ObligstlcntoReportRslat=dCases(LccaJRule 83-1. 3 3)
. ll Service cf Papcrs aud`Pi'i)cess (Lochl 1__'{t1lb 4)

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The parties are advised that they may consent tc have the assigned magidtrate judge conduct all
further proceedings' m the case, including trial and linal many cfjudgp_}mitpursuanttic 28 U_. S. C. §.636(6) and
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the parties shalljointly cr separately file __a santana
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and within 30 days by phintl£t‘sfter serle upon the hist-served defendant

For cases removed from stats court and initially assigned 6nly to a magistrate judgc, s]olm cr
separate statements cf consent shall be filed by pla_ln_tl§'lmd all defendants upon whom service has been
effected, within 11 days after th_c notice of removslls flled.

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28 U s c §636(6)(3).

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OR DEFENDANT lF PLNNTIFF OR DEFENDANT lS PRO PER

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ATTORNE¥S FGR:

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CASE NUMBER

LOU|S MALDONADO
CV10- 6262 MAN

 

Plainlifl`(s),
V- S'I`ATEMENT OF CONSENT TO PROCEED BEFORE A
MED|CRED;T_ ET AL uNrrEo s'rAsTES MAG!sTRATE Juoca
(For use fn Magistrate Judge
Defenda“'(s) Clvll Conseat PIIot Project Cases only)

 

 

THI.S' FORMSHALL BE .S` D NLY FOR CASES l HI H A MAGISTRATE JUDGE I

INITIALLYASSIGNED PURSUANT TO LOCAL RQLE 73-2

All parties to the above-captioned civil matter are to check one of the two following options and file this document with
the C|erk's OFfice:

ln accordance with the provisions of 28 U.S.C. § 636(C) and F.R.Civ.P.'i$(b), the party or parties listed below to the
above-captioned civil matter hereby waive their right to proceed before a District Judge and Consent to have the assigned
Magistrate Judgc Margaret A. Nagle conduct all further proceedings in the case, including trial and entry of final judgment.
Any appeal from ajudgmcnt of the assigned Magistrate Judge shall be taken to the United States Court oprpeals in the same
manner as an appeal from any other judgment of the District Court in accordance with 28 U.S.C. § 636(¢](3).

l:| The party or parties tisted below to the above-captioned civil matter Do Not Consent to proceed before the assigned Magistrate
Judge Margaret A. Nagle.

The party or parties listed below acknowledge th at they are free to withhold consent without adverse substantive
consequenc%.

Name of Counsel (OR Party if Pro Per) Signature and date Counsel for (Nnmc Partles)

 

 

 

 

 

 

 

 

 

 

t:| Chack th|s box lf all part|as have consented to proceed before the asslgnad Magistrate Judge.

 

NOTICE TO COUNSEL FROM CL.ERK

All parties having consented to proceed before the assigned magistrate judge, this case will remain assigned to United Statcs Magistratc
Judge Margaret A. Nagle for all further proceedings

 

CV-l 1(3 (07/09} STATEMENT OF CONSENT TO PROCEED BEFORE A UN|TED STASTES MAGISTRATE JUDGE
(For usc in Mnglstrate Judge Clvil Consent Pi|ot Pro]ect Cases only)

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Lara R. Sha irc

 

 

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Marina del Rey CA 90292

Tel@ph<_m@: 23 C)) 577~0370

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CENTRAL DISTRICT OF CALIFORNIA
CASE NUMBBR
Louis Maldonadc

PLAntrzFF(s) . . w
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Medicredit; and DOES l-l(}, inclusive,

DBFBNDANT($). SUMM-ONS

 

 

TO: DEFENDANT(B); Medicredit

A lawsuit has been filed against you.

Witln'n 2i days after service of this summons on you (not counting the day you received it), you
must selya on the plaintiff an answer to the attached l'\Zl complaint ij amended complaint
l'_`l counterclaim l`_'.l cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintifi"s attorney, Lara Shapiro . whose address is
4145 Via Marlna #324. Marina del Rev. CA 90292 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaintl You also must file
your answer or motion with the ooult.

 

Clerk, U.S. District Comt-

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Dated: 23 AUG 23§

By: /%

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(Sea_l ofthe Conrt)

[Use 60 days ifthe defendant is the United Smtes or' a Unifed States agency, cr is an qj‘ice)‘ or employee of the United Sfates. Aiiowed

60 days by little 12(0)(3)].

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CV-OEA (12107) SUMMONS

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